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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

United States of America,
Plaintiff,
VS. Case No.: 23-cr-00264-GKF-1
Daniel Lawrence Charba, WAIVER OF JURY TRIAL
Defendant.

COMES NOW the undersigned defendant, and having been fully apprised of my rights, do hereby
WAIVE my SIXTH AMENDMENT RIGHTS to a jury INALL RESPECTS both as to guilt or innocence and

as to sentencing. .
Accordingly, I hereby CONSENT that all matters in the above styled and numbered
criminal proceedings be determined by the Court in accordance with Rule 23, Federal Rules of Criminal

Procedure.

wil X Code

Daniel Lawrence Charba, Defendant

Mes Poalack

Attorney for Defendant

CONSENT OF GOVERNMENT:

Zo

Assistant United States Attorney

Signed and approved in open court on 9/21/2023. a»)

A

(Mark T. Steele, U.S. Magistrate Judge

Arraignment Change of Plea Magistrate Judge (11/2021)
